     
 
 

CaSe 1:14-CV-03885-VEC
'/f;_r,r_:qeg_,' ;::npo.rd pure ‘Bugsuaoy‘; goung ‘Ma/\o:)ag
‘enp;seds£epggsaouemq

-d 12/05/14 Page 1 of 8
5!H S.JOJ!PBJO ‘UO!JGSIIOO 11an U.f 5U!9!1391d
';d!eoal uodn eng

`I"FJ`|`F|X

 

¢J.NVG_NE`:'_|’:'I_€|
gg~ Mg amaxdng Pp;IDTg q;:M eouepuodsallog
<SUTDUEJS pOOB)
O§` MHM lIUOD BUSIdUS TE 01 1911@@ IEEIU $I/GE/Q
Og‘ MHM ss:ms:q 01 uoT;oW BU:AJEIG anu:;uog
Og~ MHM eqnqqu mzq Buoq qlog MBN qaxeesag
O§' MHM ANUS UOTJUTPSTIUD TPUOSI@& UDIEGS@H
ANGS H?
Og' MHM equoeld ss:ms:g 01 uoT;ON qoaeasag
0§' MHM xNGS @UU@A MOIPSSSH hI/LZ/Q
ig:{:qzssod myers lequnog
gg' Mg _(I;Pma) lueTIQ/M aguepuodsallog
@SED ;noqe guqusen@
gg' Mg _(T:Ema) qua;{g /M eouapuodsallog
§E' MH XGPUT BUTPPBTd PGJEBID YI/QZ/Q
MET
uc;;§xodloou; afese{oqm Bu:pleba:
0§' MHM fSSinzG 01 uorl@w 5¢:1;€10 UYBBH vI/vz/Q

IIUOD 30 HlaTD 01
TTQN 'g'g Q:A puas 'emES bu:;uezh
xepz@ pesodola ;;EIG !BQYA oeH 015

0§` MH UO?SS¥WDV 103 UOTRON GTT§ DUP BJPIG
'suo:;nnzqsu:
s.£euxoqqe puE Kuomzqseq S,;uazfo

O§' MH UO DBSEQ SSU?TRUO SATSU@J@D l§EIG FI/OZ/Q
EDYH

oeH 013 log 3113 pue 193 Epzxofg
mol; Bufpuqu poog go uc;;€o$;:qlag
09' MH U?PRQO 5# ADH/WD XN UTPIQO VT/QT/Q
goaxeqq uqueuefdxe pue
quepue;ap puE quayqs 30 §uom:qsaq
DUE KIOJSTH PSMSYAEI fANGS U? DBTTJ
§z‘t MHM SLUGMHQOD DUP JUTQIGUOD P@M@:A@H vI/EO/S

TlUI S@UIUUSSH KLTTQHC BSPTIQSHO SNIGHVSEH SHDIAHES TVSHT

YI/§T/L HBDOHHL UOIHHJ HOJ LNEWH&VLS

619€€ IA 'Edme@

99 SJTHS
EZ§E # EOTOAUI IO€ KPMQBTH SD quOS EO§I
ZOP~EBZ S:IE§ qudoqs:;qg

vice ’9? KTHF

 

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wonua;!s|qom'mmm
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seas-6 Lz-o§a :Quuuda;@l

L§QZ‘LOSZE Tj gassequel
9 31!|`|‘3 SAV >I-\Ed 1393 OOLL

 

 

 

 

Vd ‘HH:HS'IHOAA '>1 I/\WI”HIAA

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3:u0qde{a; ;0 fe;uap pue eqep

aaua:e;uou fe:lqazd Bu:nuzluon 9 ;0

gg' MHM {ETuap slqjuoo MBTASJ puE aA:aDaH
zqewu:e;g eAa;g

A@uxogqv'pue uosle§ q:eqog §euloq;w

§Z' MHM qq:M T{ED eouela;uon auoqdefal
TTEm-H P?A (I@ll@f 10?09) ISSUHOO
QE' MHM bu:SOddO qqzm anuepuodse::og

T¢Em-§ E;A {quamulno;pg
Buqueubeg quqeq buyi:g)

gg' MHM T@SUHOQ Bu:soddg q;;M asuepuodellog
euoqd
EYA (a:uala;uog feilqezd) fasuuog
gz- MHM huysoddo q;:M eauepuods§zlog
xapeg E:A pSATaaal S;yAEpy;;E

53' MHM palelodlo$u: pu§ paMG;AaH pf/@O/L
§z' we r?Ew-§ E?A uverro Pen€pdn
auoqd e:A (quamuzno;pv) zuegszssv
gg~ Mg fein:pmg qq:M asuspuodsazlog

auoqd EFA {SSTMS:Q 01 uo:;ow
Bu§TYJ/BQYA SEH 013 go TQAOIddH)

§z' MA HI@IJ ANQS anM @DU@DUOGS@IIOD
resumes

hujsoddo q;;M asueza;uos auoqdafa;

§g' MHM TQTIA_ezd KEM-a@;q; peqonpuog
ssauzsng go asqu

§3“ MHM TEdzDurIa 30 ;:A€pr;;v pal;€lu
§z' MHM ADU@P:S@H ;O QPAPDT;;V 991;910
§esunos

Bu:SOddo q;TM aaua;e;uoo auoqde{e;

qq;€; poob Bu:MOTTO; Jeq;aq quzof

EZ' MHM 01 UOTJUQTIJUOD 51109000§00 PSQJEIU
Tesunoo

Bujsoddo qq:M ecueza;uon euoqdafeq

q;:@; poob BUYMOITOJ qugmuznofpv

O§' MHM 50?150000H 10110? 001;916
aznpesoxd

log SaTn; TanyA:pu: s,;uo:deg

ebpmp pue am$;ON eoueleguog

09` MHM TE?IIGIJ TETQ?UI P@M@?ABH

SZ' MHM HHDV& 00 HGHSOU PSMBTABH SI/SO/L
'amoqd E:A (J@pl@ eO:A SEH

gg' Mg 015) ql@{o ANGS qq:M anuepuodsalxog

'am€s BuTqaas
SUOTSSan:p auchaf§; efdy;fnm
PUE BU?DUEJS DOOS 30 919:?;:11@3

§g' MA du qa;d 01 ;IHOD amaldng 01 SAOJQ
(ableqo ou) BQTA
D/N §Z‘ MHM DEH 015 103 00?10N DBPUBUP PGJJEIG bI/LO/L
gg' ME au;{peag IGMSUH pazepuaieg
qxnog

3 Hava ZOP-€az §I/QI/L S:IPa I@qdonstrug

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00:1000LUI £10010:1015 000 10010

0010:01150§ 51010000L 101 00;10w

09'3 MHM 001:; £Imeu Ma;Aal 000 0A10005
OO'I MHM 51?3 HIOA MSN UTHJTM TBAEIL PI/II/L

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000 01 {0A011 0,101:0{00M 50010110

g/N Og' MHM 101 010000000:10 100:10100T 0100

'md gg:g Kq 01;1 01 0100000 0,11000

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09'3 MHM ’000110310A000 000000101 01d;1{nw

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Q@-g MHM 5,1001{0 000 0111 10 Me;ne: 1103

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QO'I MHM 1101 MeN 01 00000001{03 001; {0A01L pE/OI/L

(051000 00)

QZ‘ ME HUSMUIUOLPV 50?1000008 ISLLBT DBTTA
§Z' ME {051000 00) SSTUS?G 01 U0TIOW DSTTA
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gg' Mg 00) 0001000001d 00 100113 00100dg
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53' MHM 001100 10 101000 0,11003 001000§
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gg' MHM 000 0000010 10 00:1000de0 1101@
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HBVd ZOP~€BZ §I/§T/L 5?190 IEQdOlSTlUD

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§L`Q§ §Z'
OU'SZS
LL'OL$
BZ'ESZS
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OO`ES
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§Z'T$
O§‘LS §Z'
OO'L$
O§'S §Z`
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010 01 zI/L-oz/L 601@001
1101 01100101 0011013
1101 01?00100 0011013
1101 01100101 00?1013
0000110 01 0000000{101 0011 1003
1101 K0M0001dx3 510003 000010
0001000 53303 -001003

003 0010001§ 0009 10 010011:1103
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uslw 01 003 GDYA DEH 010

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fSBUTI?; §I/II/L 50:1001;01
0001111 11000 M01001 000 0A1000§
'1000000 001000d0

011M 00010000010 10000{1100 01
.S;;rlvr€rd
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51001011010 000 00101011001
X10100001 101 001100 00 0011000
’0000101000 10010 501{000000
’0000101000 10111_010 000110
'00000:A0 001011010 000 0001100
M00 000 0001100 000 060100010
10110 00 5011000 11000 101

0100010 30000 001010001 1001{0 0011

10001 11000 0A10001 301000 bofq
0,100110 10 M01A01 :00110N 0100

10 110ddns 01 001000010 01000000110

11000 10 M01A01 10100 000 ‘10:13
STJE 50 l?AEPTJ§H PUE ’3001001
1100dns 01 001 10 000001000w 000

PI/GI/L
PT/GI/L
bI/OT/L

PI/OT/L
PT/OT/L
VI/OT/L
VI/OI/L
YT/UT/L
YI/OI/L
PI/GD/L
YI/OE/Q
VI/OE/B
9¥/0§/9
PI/§O/Q
FT/€O/Q
PI/€O/9
GNV SlSOS

'H WP?TTTM
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1050{010§
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1N0001013 LXHN amex 00 000000 111M
1103 ‘91 510@ 00130 GHAIHQBH SLNENAHJ 100

ZO'IOE'v$ &NDONV SIHL RVJ ESVIT&
HC)OO`DOL'ZS SLNHN&SDCGH GNH S.L£\I'.HN.U;ZE£ ’IV'J.G.L
HDDO`OOL'ZS mlT; 01 D?Pd 1UBWKEJ bI/LI/L
S.LNEID\]LSH£‘GV GNV S.LNBD\LI.V&
DO`S LBHHL NI HDNVTHE
11/01/1 0000101
DO'UGL‘E$ 1UBLH%‘1‘31S 101 UI?§ 01 D?Ed SSBJ PI/LI/L
0000'00L‘zs 1100000 10011 11/01/9
SNOI.LSHSN\'IHL lS£}Hl.
30'106'9$ SHBHHHD LNEHHDD
LZ‘ZLE$ SHSNH&XH GNV SLSOD TV&OL
09'15 1101 KEMSSaIdxH £1u003 060010 51/§1/1
OU`ES TTO& SXTdUIUL EDTIOI£ YI/EI/L
gg'1g 1101 50M00010X3 £10003 05u0:0 01/§1/1
(00000110 0010Au1) 110dx10
LL'OL§ T1UI HJE 01 T91OH WOIJ GIPJ TXPL YI/ZI/L
1100110 1101
00'010 0000110 10 010010 001 101 5011100 11/21/1
11‘6§0 0000110 01 1001010A0=5010001 11/31/1
05'§3$ 00000001101 01 010103 _003 0600503 $1/51/1
OO'EVS BBSSEHETTEL 01 OpUETIO WUI; T@U£ YI/ZI/L

9 HSHJ 201-102 11/91/1 sr:ea xeqd@;§¢lqg

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'/f;_r[_.'qe_r] J:)npmd pue '{J`u;suao!’] pua..'g ‘/[10/\0:105 /(;;0/{0¢\_; ‘sa,mds_:(] gsr.u;uog 's,rqB_IH spraypr 'uo_r}:)a,';og ;qeg 01511_.'0_.',1001¢;{
'enp used sAep 09 saoueleq 01 seg|dde %g'L 10 001 010'| V '1d_la:)eJ uodn eng

000 601111 0503 :SH (11000) 100110
011M 00000000001100 !0011100000
01 00110101000 00111 £0011100000 01
00000001 00111 5001111 100101110001

O§’ ME DUE §I015TU 101000 DSUDIEBSWH YT/UE/L
0111 0000001_01 500110101000
002110011 30011010100@ 01 01103:03
00‘1 Mg {11000) 100110 011M 00000000001103
1001@ 0010101100§ 510100001 101
00110w 0,091§9 01 0011100000 01100

gL' MA 000 0111 5000 '01101010 0100015 51/63/L
0011000;01 §1001011015 101 1000b0§
,011110015 01 00111000d0 01 0000d01
0011010 :000110010 1000101001
gg~ MHM 000 00101 10001 0000100003
101103 0011000;01 510100001 101

OO'E MHM UOT10W GOOIEB 01 UOT1TSOddO 11910 FI/BE/L
10A01ddE

gg' Mg 100113 101 001101010aq 000100103 51/§3/1
010100010 000 M01101 0,100110 101
1110001;0 0.10110 000 00011000110
,011110016 01 00111soddQ
01 0011010100@ 0011010 3100110 50
00011010 00110010101 01 00110101000
00106000 500011000C01 K1001m1101d

MHM 000 50010001d 0010000501 0010000& 11/93/1
10??5 10 UO?1EIPTDBG 1511?100Td
01011M 0000 00011000110 01 10010101
!11000) 100110 011M 0000006001100
’10010 00101011501 101 001100 01
00000001 01 'M01 10 0000010000 000

§L' 000 10010 00000010 1011110010 00M01100 11/€z/L

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TlUI SGDIHOSBH KLFTEUD SBPTJQEKO SNIGHHSHH SHDIAHES THDHT

VT/EI/B HSDOHHL OOIHHH 303 LNEWH&V&S

619€0 11 '00001

9€ SITUS
PE§Z # SSTOAUI IOE £EMHSTH SG UlHOS EOEI
ZGF*EBZ 01105 10000101103

1103 '€1 100000

 

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UJOO'.ES_J,!S|L|OM'MMM
vALQ-ezs-gge 10n010001
BBBQ-GLz-oga iauoudalel

LSQZ'LOEZ€ 11 BBSSEUEHEL
El B¥EHS SAV >ilF-‘d 1593 OOL£

 

 

 

 

VJ ‘HHJISTHOAA '}1 I/WI’HIM

:IO ':`If)l:ldO MV']

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OS'LEB'E

O§'ZIQ'E

OO'§ZZ

OO'

HDTVA

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§Z`
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OE`
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3 HBHH ZOP_€BZ

OO'§LE

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UO'
ELVH

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MH M

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ME

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FI/

SIHJ THlOL
09'6 IBJYSTQOM ‘H UE¥TTTM
OE'Z TPBBTEIEJ
0§' 105010105
lel EHJEHHHNIL
001100

0 01 11 010101 01 0101101 511
01 000 010001 001 0011 0000101110
00 M01 10 000001000w 100001
1000 001 1001 5011000001 1001603
05000 01 101101 1101@ :§01111
Omaw 10000 11010 01 1100 00005 §1/§1/9
M0T 10 000001000W 10111
.SJJTJUET& 50 UOTSI@A PITHQ MSTA@H
11000 50 0100mw00
M01A01 !0001{1; 10110 01 0106000
0001 0100mq00110 0001 :0011000§01
51001011015 000 1001@ 0010:011005
H1QJOdwal 0 101 00110N 10;;110015
10 1100000 01 M01 10 0000010maw
0001A01 M01A01 000 0A1000§ VI/Lg/B
010001015 'W 100001N K001011V
10 0000100000 10 00:10N 0A10001
30111 01 00100 3101010003 0000000
lSI?B S¢§JTJUPT& M@TA@I PUP EATSDSH VI/QD/B
100110 33 !1001603 00000 011M 1100
0000101000 0011000000 11000 3011;01
01 1000000 101 1000001 510 601£000
000109 §0010110 011M 050000x0 11000
3501111 101010000 0000000 501100;01
11000 10 11010 001; 00110N 0A1000§ §1/00/3
(061000
00 10 gg') 0011100000 01 0000000§
100 111110010 001 10 1106 001
00 50111; 510011 10 05000 001 110{0
01 510000 01000000 01 1100 00000
!0011100000 01 0011010100@ 00{1;_01
¢0011100060 01 00000501 00111_01
:001100 60111;_01 601010§01
001;;0 0,11013 01 1100 000qd 00000§
0111 01 00100 0000
30011100000 100 501113 :0§ 05009 01
101101 001101Q 5010000 011M 100110
00 fSnD@;@D BHTI?; 000100 BHFPI€EGI
11003 10 11013 011M 0015000010
000000101 :M01 10 000001omaw
0001A01 000 1001@ 00000105
DBTTTESI 15§§?1U9Td DBMSTAEH PT/IE/L
001010

EI/B 01103 1000010;103

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LNHWELVLS EXEN HUOR NO HVEJJH TTIM

PTOE 'EI JSUBUV HHLJV GHAIHOEH SLNENAV& XNV

uuzu'ruz'v$
zu'qu’vS
us'uQu‘zs
uu't€$
uu'et$ 92‘ QL
uu‘zt§ §z' uh
umwa SlINu

§ HBVJ ZOP-ESZ

WT/ET/B

JNQOWV SIHL KVd ESVHTJ
SJNEWLSHFGV GNV SLNEWXVB TV&O&

DSA:BOBH auSwAEa vI/Iu/B
sumuwmsuouv umw SuNuwAva

usmvuvu quwuuvls HOIHJ
Suauvuu @Nuuuuu
Susuuuxu umw SLsuu uvuuu
93?603 vT/vu/S

S@Td@u vI/IE/L
Susuuuxu umw SLSOQ

S¢Ieg 13qd0;5;1q3

